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                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                              UNITED STATES OF AMERICA,                              No. CR 05-0197 CW (JL)
United States District Court




                                                                         11
                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12                                                          NOTICE OF SETTLEMENT
                                                                                     v.                                              CONFERENCE AND SETTLEMENT
                                                                         13                                                          CONFERENCE ORDER
                                                                              ROBERT DOUGLAS HAZEN,
                                                                         14
                                                                                         Defendant.
                                                                         15   ________________________________/
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                                                                                            TO ALL PARTIES AND COUNSEL OF RECORD:
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                                                                                     PLEASE TAKE NOTICE that this case has been referred for a Settlement
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                                                                              Conference before Magistrate Judge James Larson. The Settlement Conference shall take
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                                                                              place on Tuesday, September 12, 2006 at 2:00 p.m., in Judge Larson’s chambers,
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                                                                              located at the Federal Building, 450 Golden Gate Avenue, 15th Floor, San Francisco,
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                                                                              California 94102. If the court-ordered date presents problems for parties or counsel,
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                                                                              counsel is to contact Judge Larson’s chambers directly at (415) 522-2112.
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                                                                                     Counsel who will try the case or other counsel responsible for the litigation shall
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                                                                              appear at the Settlement Conference with the parties if possible. Any party who is not a
                                                                         25
                                                                              natural person shall be represented by an individual not directly involved in the events
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                                                                              which give rise to the litigation but with full authority to negotiate a settlement.
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                                                                              SETTLEMENT CONFERENCE NOTICE                     1
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                                                                         1           Counsel shall provide directly to the magistrate judge Monday, September 11,
                                                                         2    2006 two copies of a Confidential Settlement Conference Statement which should
                                                                         3    be lodged with chambers and should not be filed with the Clerk of the Court or
                                                                         4    served upon other parties.
                                                                         5           The Confidential Settlement Conference Statement shall be as brief as possible and
                                                                         6    should rarely exceed 10 pages. It shall include the following:
                                                                         7           1.     A statement of the facts of the case.
                                                                         8           2.     A statement of the charges and defenses including.
                                                                         9           3.     A summary of the proceedings to date.
                                                                         10          4.     The party’s position on settlement, including a history of past settlement
United States District Court




                                                                         11   discussions as well as present demands and offers.
                               For the Northern District of California




                                                                         12          Any request to continue the settlement conference shall be submitted in
                                                                         13   writing after consultation with the opposing party. Submission by facsimile is
                                                                         14   acceptable at facsimile number (415) 522-2140.
                                                                         15          The parties shall notify Magistrate Judge Larson’s chambers immediately if this case
                                                                         16   settles prior to the date set for settlement conference.
                                                                         17
                                                                         18   DATED: September 8, 2006
                                                                         19
                                                                                                                                 __________________________________
                                                                         20                                                            JAMES LARSON
                                                                                                                                 United States Magistrate Judge
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                                                                              SETTLEMENT CONFERENCE NOTICE                   2
